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                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF ILLINOIS

GARY FISK,                                       )
                                                 )
         Plaintiff,                              )
                                                 )
vs.                                              )       Case No.
                                                 )
SELMA DEREYAYLA and                              )
FAF INC.,                                        )
                                                 )
         Defendants.                             )

                       DEFENDANT FAF, INC.'S NOTICE OF REMOVAL

         1.       A civil action has been commenced and is now pending in the Circuit Court,

Madison County, Illinois, Case No.: 2021L 001359, wherein Gary Fisk is Plaintiff and Selma

Dereyayla and FAF, Inc. are Defendants.

         2.       This action is a civil action wherein Plaintiff has made claims for damages as a

result of Defendants' alleged negligence in connection with a motor vehicle accident that occurred

on or about December 2, 2019.

         3.       Defendant FAF, Inc. was served with the initial pleadings in this action on May 4,

2022.

                              DIVERSITY OF CITIZENSHIP EXISTS

         4.       This action is a civil action, of which the United States District Courts have original

jurisdiction pursuant to 28 U.S.C. § 1332 and is one which may be removed to this Court by

Defendant pursuant to 28 U.S.C. § 1441, and this is a civil action or proceeding involving diversity

of citizenship.

         5.       Plaintiff Gary Fisk is a citizen of Missouri.
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        6.      Defendant FAF, Inc. is a corporation organized and existing under the laws of the

State of Tennessee with its principal place of business in the State of Tennessee.

        7.      Defendant Selma Dereyayla is a citizen of Texas.

               THE AMOUNT IN CONTROVERSY HAS BEEN SATISFIED

        8.      The amount in controversy exceeds $75,000.00 for the Plaintiff exclusive of interest

and costs. Because this is a personal injury action where Plaintiff claims damages for permanent

personal injuries, property and for past and future bodily injuries including pain and suffering,

disability and loss of normal life, medical expenses, and other losses along with medical bills

known to date in excess of $150,000.00, undergone two surgeries with a possible third surgery

either recently completed or estimated to be done in the future, Defendant believes the amount in

controversy shall exceed the minimum jurisdictional amount, whereas the amount in controversy

requirement is satisfied for Plaintiff.

                              NOTICE OF REMOVAL IS TIMELY

        10.     Less than thirty (30) days have elapsed since receipt of said initial pleadings by

Defendant FAF, Inc.

        11.     Defendant files herewith a copy of all process, pleadings, and orders it has in this

action. See Exhibit A.

        WHEREFORE, Defendant FAF, Inc. prays the Court to accept its Notice for Removal and

make and enter such orders as may be necessary to effectuate the complete removal of this action

from the Circuit Court, Madison County, Illinois to the United States District Court for the

Southern District of Illinois and that further proceedings be discontinued in the State Court and all

future proceedings be held in this Court, as the laws in such case provide.




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                                     Respectfully submitted,

                                     ROBERTS PERRYMAN, P.C.

                                     /s/ Ted L. Perryman
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                                     Attorneys for Defendant FAF, Inc.

                               CERTIFICATE OF SERVICE

       The undersigned certifies that on this 12th day of May, 2022, copies of the foregoing were
served on the following counsel of record via the Court’s ECF filing system:

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                                            /s/ Ted L. Perryman




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